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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-7444 PA (MRWx)                                          Date        November 22, 2021
 Title             United States of America v. 95,315.00 in U.S. Currency, et al.



 Present: The                    PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
 Honorable
         Kamilla Sali-Suleyman                             Not Reported                              N/A
                 Deputy Clerk                             Court Reporter                          Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                     None
 Proceedings:                 Order to Show Cause Re: Dismissal For Lack Of Prosecution

       Generally, defendants must answer the complaint within 21 days after service (60 days if the
defendant is the United States). Fed. R. Civ. P. 12(a)(1).

        In the present case, it appears that this time period has not been met. Accordingly, the court, on
its own motion, orders plaintiff to show cause in writing on or before November 29, 2021, why this
action should not be dismissed for lack of prosecution. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure, the court finds that this matter is appropriate for submission without oral argument. The
Order to Show Cause will stand submitted upon the filing of plaintiff’s response. Failure to respond to
this Order may result in the imposition of sanctions, including but not limited to dismissal of the
complaint.

         IT IS SO ORDERED.

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                                                               Initials of Preparer               KSS




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